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 7/14/2022 11:10 AM          Case      5:22-cv-00853-XR Document 3 Filed 08/08/22 Page 1 of 10
 Mary Angie Garcia
 Bexar County District Clerk
 Accepted By: Victoria Angeles
 Bexar County - 131st District Court
                                                                 2022CI13158
                                                  CAUSE NO. _________________

                 JUSTIN DELGADO                                      §                  IN THE DISTRICT COURT OF
                            Plaintiff,                               §
                                                                     §
                 vs.                                                 §                       BEXAR COUNTY, TEXAS
                                                                     §
                 LG FOX, INC. and                                    §
                 RONNIE COLLETT                                      §
                             Defendants.                             §                       _____JUDICIAL DISTRICT


                                       PLAINTIFF’S ORIGINAL PETITION, JURY DEMAND,
                                                   AND RULE 193.7 NOTICE

                         COMES NOW, JUSTIN DELGADO, Plaintiff in the above-styled and numbered cause of

                action, complaining of LG FOX, INC. and RONNIE COLLETT (“Defendants”), and in support

                thereof, would show unto this Honorable Court the following:

                                                 I.     DISCOVERY CONTROL PLAN

                         1.1      Pursuant to Texas Rules of Civil Procedure 190.1 and 190.4, the discovery of this

                case is to be conducted under Discovery Control Plan Level 3.

                                                           II.    PARTIES

                         2.1      Plaintiff JUSTIN DELGADO (“Plaintiff DELGADO”) is a resident of Bexar

                County, Texas.

                         2.2      Defendant LG FOX, INC. (“Defendant LG FOX”) is a foreign corporation existing

                under the laws of the Commonwealth of Kentucky and authorized to conduct business in the State

                of Texas. Defendant may be served with process by delivering in person or mailing by registered

                or certified mail, return receipt requested, a true copy of the citation and petition to its registered

                agent: National Registered Agents, Inc., 1999 Bryan Street, Suite 900, Dallas, Texas 75201,

                or wherever they may be found.




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                     2.3       Defendant RONNIE COLLETT (“Defendant COLLETT”) is an individual resident

             of the Commonwealth of Kentucky. Pursuant to Texas Rules of Civil Procedure 106(a)(1) and/or

             (2), Defendant may be served with process by delivering in person or mailing by registered or

             certified mail, return receipt requested, a true copy of the citation and petition at his place of

             residence: 11555 Main Street, Jeffersonville, Kentucky 40337, or wherever he may be found

             through the Chairman of the Texas Transportation Commission.

                        III.     REQUEST PURSUANT TO RULE 28 FOR SUBSTITUTION OF TRUE NAME

                     3.1       To the extent that the above-named Defendants are conducting business pursuant

             to a trade name or assumed name, then relief is sought against them pursuant to the terms of Rule

             28 of the Texas Rules of Civil Procedure, and Plaintiff hereby demands upon answering this suit,

             that the Defendants answer in their correct legal and assumed names.

                                                 IV.     JURISDICTION & VENUE

                     4.1       This Court has jurisdiction in this cause since the damages to Plaintiff are within

             the jurisdictional limits of this Court.

                     4.2       Pursuant to Sections 15.001 et seq. of the Texas Civil Practice and Remedies Code,

             all or a substantial part of the events or omissions giving rise to the claim occurred in Bexar

             County. Further, this venue is proper because it best serves the convenience of the parties and

             witnesses as well as the interests of justice.

                     4.3       Plaintiff has satisfied all conditions precedent to bringing this lawsuit.

                     4.4       Plaintiff did nothing to cause or contribute to this occurrence.

                     4.5       Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiff seeks recovery

             of damages for monetary relief over $1,000,000. In the alternative, Plaintiff seeks recovery of

             damages for monetary relief under $1,000,000, but in excess of $250,000.



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                                                       V.     AGENCY

                    5.1     Whenever in this Petition it is alleged that Defendants did any act or thing, it is

             meant that Defendants’ officers, agents, servants, employees, or representatives did such an act or

             thing and that at the time such act or thing was done, it was done with the full authority or

             ratification of or by Defendants, or was done in the normal and routine course and scope of

             employment or official duties and in furtherance of the duties of their office or employment of

             Defendants’ officers, agents, servants, employees, or representatives.

                                                        VI.    FACTS

                    6.1     On July 13, 2021, Plaintiff DELGADO was hauling a RV with his Dodge Ram

             3500 pickup truck and traveling westbound on South Loop 1604 W approaching the intersection

             of Applewhite Road in Bexar County, Texas. At approximately the same time, Defendant

             COLLETT was operating a Chevrolet Silverado pickup truck and traveling southbound on

             Applewhite Road approaching the intersection of South Loop 1604 W. Traffic on Applewhite

             Road was controlled by flashing red lights, as well as a red “Stop” sign and yellow sign stating

             “Cross Traffic Does Not Stop.” Defendant COLLETT failed to yield the right-of-way and entered

             the intersection. Plaintiff DELGADO, having no time or space to stop, collided with Defendant

             COLLETT’s truck. As a result of the collision, Plaintiff suffered severe, excruciating, and

             debilitating personal injuries, including but not limited to headaches, shoulder pain, neck pain with

             radiculopathy, and lower back pain with radiculopathy.

                    6.2     At all times material to this lawsuit, Defendant COLLETT was operating the

             vehicle with the permission of Defendant LG FOX.

                    6.3     At all times material to this lawsuit, Defendant COLLETT was operating the truck

             for Defendant LG FOX as its employee and was acting within the course and scope of his



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             employment with Defendant LG FOX at the time of this incident.

                    6.4      Deputy Michael Pernell with Bexar County Sheriff’s Office investigated the

             collision and determined Defendant COLLETT disregarded his stop signals and failed to yield the

             right of way, which were the sole contributing factor causing the collision.

                    6.5      On July 22, 2021, Plaintiff DELGADO underwent a lumbar spine MRI at Premier

             Medical Imaging. The imaging revealed a 3 mm disc herniation at L5-S1 with annular tear. The

             imaging also revealed a disc bulge at L4-5.

                    6.6      Plaintiff DELGADO underwent lumbar epidural steroid injections performed by

             board-certified orthopedic surgeon, Sanjay Misra, M.D. As Plaintiff DELGADO failed

             conservative treatment and injections, surgical intervention was recommended.

                    6.7      On February 14, 2022, Plaintiff DELGADO underwent the recommended lumbar

             microdiscectomy. Dr. Misra performed the surgery at Texas Vista Medical Center.

                    6.8      On July 22, 2021, Plaintiff DELGADO underwent a cervical spine MRI at Premier

             Medical Imaging. The imaging revealed a 4 mm disc herniation at C5-6 that contacted the thecal

             sac.

                    6.9      Plaintiff DELGADO underwent cervical epidural steroid injections performed by

             Dr. Misra.

                    6.10     Plaintiff DELGADO continues to undergo medical treatment due to injuries

             sustained as a result of the collision of July 13, 2021, which is the basis of this lawsuit.

                    6.11     The injuries and medical treatment described herein were proximately caused by

             the collision of July 13, 2021, which is the basis of this lawsuit.

                    6.12     In the alternative, Plaintiff DELGADO’s preexisting injuries and/or conditions, if

             any, were aggravated and made worse by the collision of July 13, 2021. The collision of July 13,



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             2021 proximately caused the aggravation of Plaintiff DELGADO’s preexisting injuries and/or

             conditions.

                                  VII.    NEGLIGENCE OF DEFENDANT RONNIE COLLETT

                    7.1     The incident made the basis of this lawsuit resulted from the improper conduct of

             Defendant COLLETT. The conduct of Defendant COLLETT constituted negligence and/or

             negligence per se as those terms are understood in law and such negligent conduct was a proximate

             cause of the occurrence, injuries, and damages to Plaintiff made the basis of this suit.

                    7.2     Defendant COLLETT had a duty to exercise ordinary care and to operate his

             vehicle in a reasonable and prudent manner. Defendant COLLETT breached his duty of care. His

             negligent actions and/or omissions include, but are not limited to, one or more of the following

             non-exclusive particulars:

                            a.      failing to stop when approaching an intersection with a stop sign in violation
                                    of Tex. Transp. Code § 544.010;

                            b.      failing to yield the right-of-way at a stop sign in violation of Tex. Transp.
                                    Code § 545.151(1)(A);

                            c.      proceeding into an intersection when unsafe in violation of Tex. Transp.
                                    Code § 545.151(a)(2);

                            d.      failing to yield the right-of-way at a stop sign wherein a vehicle was
                                    approaching so closely to the intersection as to be an immediate hazard to
                                    the Defendant’s movement in or across the intersection in violation of Tex.
                                    Transp. Code § 545.153;

                            e.      driving at a speed greater than is reasonable and prudent under the
                                    circumstances then existing in violation of Tex. Transp. Code § 545.351(a);

                            f.      driving at a speed greater than is reasonable and prudent, with regard to
                                    actual and potential hazards then existing, to avoid colliding with another
                                    vehicle on the highway in violation of Tex. Transp. Code § 545.351(b);

                            g.      driving his vehicle recklessly in violation of the Tex. Transp. Code §
                                    545.401;


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                             h.     failing to apply the brakes properly and/or timely;

                             i.     failing to maintain a proper lookout;

                             j.     failing to take proper evasive action;

                             k.     failing to operate his vehicle in a safe manner;

                             l.     driving while distracted;

                             m.     failing to operate his vehicle as a person of ordinary prudence would have
                                    in the same or similar circumstance; and/or

                             n.     other acts of negligence and/or negligence per se.

                    7.3      One, some, or all of the foregoing acts and/or omissions or others on the part of

             Defendant COLLETT constituted negligence and/or negligence per se. Such negligence was a

             proximate cause of Plaintiff’s injuries and damages. Plaintiff was also within the class of people

             sought to be protected by the statutes Defendant violated, and Plaintiff’s injuries were of the type

             these statutes were designed to prevent.

                                          VIII. NEGLIGENCE OF LG FOX, INC.

                    8.1      At all times material to this lawsuit, Defendant LG FOX was the employer of

             Defendant COLLETT under Texas law, and Defendant COLLETT was acting in the course and

             scope of that employment with Defendant LG FOX. Consequently, Defendant LG FOX is

             vicariously liable to Plaintiff for the negligent conduct of Defendant COLLETT under the theory

             of respondeat superior.

                    8.2      The independent conduct of Defendant LG FOX also constituted negligence as that

             term is known in the law. Such negligent acts and/or omissions include, but are not limited to the

             following:

                             a.     allowing Defendant COLLETT to operate its vehicle even though it knew
                                    or should have known he was a reckless or incompetent driver;



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                            b.       entrusting a vehicle to Defendant COLLETT even though it knew or should
                                     have known he was a reckless or incompetent driver;
                            c.       failing to properly train Defendant COLLETT in the safe operation of a
                                     motor vehicle;
                            d.       retaining Defendant COLLETT after it knew or should have known that he
                                     was a reckless or incompetent driver;
                            e.       failing to establish and enforce safety rules and regulations;
                            f.       failing to properly educate, instruct, and supervise the performance of
                                     Defendant COLLETT’s duties;
                            g.       failing to provide proper safety manuals and instructions to employees
                                     responsible for safety;
                            h.       failing to enforce and ensure compliance of established safety and
                                     operational rules and regulations for persons operating its equipment;
                                     and/or

                            i.       other acts of negligence.
                    8.3     One, some, or all of the foregoing acts and/or omissions or others on the part of

             Defendant LG FOX constituted negligence. Such negligence was a proximate cause of Plaintiff’s

             injuries and damages.

                                                      IX.        DAMAGES

                    9.1     As a result of the incident made the basis of this lawsuit described in the preceding

             paragraphs and the negligence of Defendants, Plaintiff sustained significant injuries and damages

             in the past and will, in reasonable probability, sustain these damages in the future.

                    9.2     Plaintiff respectfully requests that the trier of fact determine the amount of his

             damages and losses he has incurred in the past and will reasonably incur in the future, as well as

             the monetary value of these damages, which include, but are not limited to:

                            a.       past and future physical pain and suffering and mental anguish;

                            b.       past and future disfigurement;

                            c.       past and future physical impairment;

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                            d.      past and future medical care expenses;

                            e.      past and future loss of earning capacity; and

                            f.      past and future out-of-pocket economic losses.

                    9.3     Because of all of the above and foregoing, Plaintiff has suffered actual damages in

             excess of the minimum jurisdictional limits of the Court in which Plaintiff now brings suit.

                    9.4     Plaintiff seeks both pre-judgment and post-judgment interest as allowed by law, for

             all costs of court, and all other relief, both in law and in equity, to which he may be entitled.

                                            X.      PRESERVATION OF EVIDENCE

                    10.1    Plaintiff hereby requests and demands that Defendants preserve and maintain all

             evidence pertaining to any claim or defense related to the incident made the basis of this lawsuit,

             or the damages resulting therefrom, including photographs; videotapes; audiotapes; recordings,

             business or medical records; bills; estimates; invoices; checks; measurements; correspondence;

             memoranda; files; any item which has been removed from the premises which was involved in the

             incident; facsimile; email; voicemail; text messages; investigation; cellular telephone records;

             calendar entries; and any electronic image, data, or information related to Plaintiff, the referenced

             incident, or any damages resulting therefrom. Failure to maintain such items will constitute

             spoliation of the evidence.

                                                    XI.     JURY DEMAND

                    11.1    Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff respectfully

             requests and demands a trial by jury. The appropriate jury fee is tendered with the filing of this

             pleading.




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                                                 XII.    RULE 193.7 NOTICE

                     12.1    Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby gives

             actual notice to Defendants that any and all documents produced may be used against the

             Defendants producing the document at any pretrial proceeding and/or at the trial of this matter

             without the necessity of authenticating the documents.

                                                               PRAYER

                     WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited in

             terms of law to appear and answer herein, that upon final trial and hearing hereof, that Plaintiff

             recovers damages in accordance with the evidence, that Plaintiff recovers costs of court herein

             expended, that Plaintiff recovers interest to which Plaintiff is justly entitled under the law, and for

             such other further relief, both general and special, both in law and in equity, to which Plaintiff may

             be justly entitled.

                                                                    Respectfully submitted,

                                                                    JIM S. ADLER & ASSOCIATES



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        Envelope ID: 66316281
        Status as of 7/14/2022 11:49 AM CST

        Case Contacts

         Name                  BarNumber   Email                     TimestampSubmitted   Status

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